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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



 IN RE: BPS, DIRECT, LLC, AND                       MDL No. 3074
 CABELA’S, LLC, WIRETAPPING
 LITIGATION



     RESPONSE IN SUPPORT OF MOTION FOR TRANSFER OF ACTIONS
TO THE EASTERN DISTRICT OF PENNSYLVANIA PURSUANT TO 28 U.S.C. § 1407

       Plaintiffs Brian Calvert and Heather Cornell (“Plaintiffs”), plaintiffs in the actions

Calvert v. Cabela’s L.L.C., Case No. 2:22-cv-01460-WSH (W.D. Pa.) and Cornell v. BPS Direct,

L.L.C., Case No. 1:23-cv-00020-SPB (W.D. Pa.), pending before the United States District Court

for the Western District of Pennsylvania, pursuant to 28 U.S.C. § 1407 and Rule 6.1 of the Rules

of Procedure of the United States Judicial Panel on Multidistrict Litigation, respectfully submit

the following response supporting the transfer of the six actions listed in the Schedule of Actions

(collectively, the “Related Actions”) and any subsequently filed tag-along actions to the Eastern

District of Pennsylvania for centralization or consolidated pretrial proceedings before the

Honorable Kelley Brisbon Hodge, who is currently presiding over one of the six Related

Actions. In the alternative, Plaintiffs respectfully request that the cases listed in the Schedule of

Actions and any subsequently filed tag-along actions be transferred to the Western District of

Pennsylvania for centralization or consolidated pretrial proceedings before the Honorable

William S. Stickman IV.

                                         BACKGROUND

       The six Related Actions pending across five federal districts, are state-specific class

actions against Defendants BPS Direct, L.L.C. (“BPS”) and Cabela’s L.L.C. (“Cabela’s”)
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(collectively with BPS, “Defendants”). Defendants are sister companies, owned by the same

parent company, Bass Pro, LLC, which is wholly owned by Huntsman Holdings, LLC.

Huntsman Holdings, LLC is an indirect, wholly-owned subsidiary of Sportsman Holdings

Company. Each of the Related Actions alleges that Defendants unlawfully wiretap the electronic

communications of visitors to Defendants’ national websites—www.basspro.com and

www.cabelas.com—by embedding a snippet of JavaScript computer code (“Session Replay

Code”) on their websites for the purpose of intercepting and recording its website visitors’

electronic communications, including their mouse movements, clicks, keystrokes, URLs of web

pages visited, and/or other electronic communications in real time. Each of the Related Actions

further alleges that Defendants’ use of Session Replay Code to intercept the website

communications of visitors to their websites is violative of various two-party consent state

wiretapping laws and state common law. As such, each of the Related Actions alleges a common

set of factual allegations regarding Defendants’ unlawful deployment and use of Session Replay

Code on www.basspro.com and www.cabelas.com.

       Given that there is no singular center of gravity, with BPS and Cabela’s headquartered in

Missouri and the six actions pending across the Eastern District of Pennsylvania, the Western

District of Pennsylvania, the District of Massachusetts, the Southern District of California, and

the Western District of Missouri, Plaintiffs contend the most logical and convenient location for

these proceedings is the Eastern District of Pennsylvania, where Defendants maintain a

significant presence, where one of the six Related Actions is currently pending, and located in

the state where three of the Related Actions are currently pending. Additionally, as discussed in

more detail below, a transfer and consolidation of the Related Actions to the Eastern District of




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Pennsylvania would be convenient for the parties and witnesses and would promote the just and

efficient conduct of the Related Actions.

                                            ARGUMENT

I.     TRANSFER IS APPROPRIATE PURSUANT TO 28 U.S.C. § 1407(A).

       Centralization and transfer are permitted if civil actions pending in different districts

“involv[e] one or more common questions of fact” and this Panel determines that transfer will

further “the convenience of parties and witnesses and will promote the just and efficient conduct

of such actions.” 28 U.S.C. § 1407(a). “The objective of transfer is to eliminate duplication in

discovery, avoid conflicting rulings and schedules, reduce litigation cost, and save the time and

effort of the parties, the attorneys, the witnesses, and the courts.” Manual for Complex

Litigation, § 20.131 (4th ed. 2004). Transfer and centralization for pretrial proceedings would

achieve each of those objectives.

       A.      The Litigation Involves Common Questions of Fact.

       “Transfer under Section 1407 does not require a complete identity of common factual

issues as a prerequisite to transfer, and the presence of additional facts or differing legal theories

is not significant when the actions still arise from a common factual core.” In re Blue Cross Blue

Shield Antitrust Litig., 908 F. Supp. 2d 1373, 1376 (J.P.M.L. 2012).

       Here, in all the Related Actions, Cabela’s, BPS, or both are named as defendants. In

addition, the crux of each complaint is that Defendants unlawfully intercepted the website

communications of visitors to their websites through the use Session Replay Code, resulting in

damages to plaintiffs and the punitive class members. While the pending cases each involve

state-specific invasion of privacy claims and violations of two-party consent wiretapping laws,

the core issues of the pending actions will include, but are not limited to whether: (1) Defendants



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procure or employ Session Replay Code on their websites to intercept visitors’ website

communications; (2) whether website visitors’ website communications are electronic

communications; (3) whether Defendants intentionally disclose the intercepted communications

to Session Replay Providers; (4) whether website visitors consent to the interception of their

website communications; (5) whether plaintiffs and putative class members have a reasonable

expectation of privacy in their website communications; (6) whether Defendants’ actions are

highly offensive to a reasonable person; (7) whether plaintiffs and putative class members are

entitled to damages; and (8) whether plaintiffs and putative class members are entitled to

equitable relief.

        Where, as here, pending cases bring forth claims against the same defendants and are

based on the same core factual allegations and/or events, the Panel has routinely found common

questions of fact. See In re Bausch & Lomb, Inc. Contact Lens Solution Prods. Liab. Litig., 444

F. Supp. 2d 1336, 1338 (J.P.M.L. 2006) (transferring cases sharing factual allegations); In re

Ford Motor Co. Crown Victoria Police Interceptor Prods. Liab. Litig., 229 F. Supp. 2d 1377,

1378 (J.P.M.L. 2002) (finding common factual questions where all actions focused on a common

allegation); In re Sugar Indus. Antitrust Litig., 395 F. Supp. 1271, 1273 (J.P.M.L. 1975) (finding

that presence of a common defendant gave rise to common factual issues).

        B.      Transfer for Consolidated Pretrial Proceedings Would Serve the
                Convenience of the Parties and the Court, Promote Judicial Efficiency, and
                Avoid Duplication of Resources.

        Centralization and coordination will further the convenience of the parties and the just

and efficient conduct of the Related Actions because it will eliminate repetitive discovery and

any possibility of conflicting rulings. See In re Cross-Florida Barge Canal Litig., 329 F. Supp.

543, 544 (J.P.M.L. 1971) (“Pretrial coordination or consolidation will eliminate the likelihood of



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repetitive discovery . . . serving the convenience of the parties and witnesses and furthering the

just and efficient conduct of the litigation.”); In re Plumbing Fixtures, 308 F. Supp. 242, 244

(J.P.M.L. 1970) (“[A] potential for conflicting or overlapping class actions presents one of the

strongest reasons for transferring such related actions to a single district for coordinated or

consolidated pretrial proceedings.”). Due to fairly similar factual allegations, both discovery and

motion practice will overlap considerably, if not completely. Thus, transfer and consolidation

will prevent the parties, and courts, from addressing similar discovery issues multiple times and

repeatedly deposing like witnesses and producing like documents.

       Further, centralization will avoid inconsistent rulings as the actions involve similar facts

and claims, and several of the actions are proposed class actions that overlap. See In re Seresto

Flea & Tick Collar Mktg., Sales Pracs. & Prod. Liab. Litig., MDL No. 3009, 2021 WL 3854901,

at *1 (J.P.M.L. Aug. 11, 2021) (consolidating actions arising out of violations of state statutory

and common law where several of the asserted nationwide and state classes overlapped); In re

Target Corp. Customer Data Sec. Breach Litig., MDL No. 2522, 2014 WL 1338473 (J.P.M.L.

Apr. 2, 2014) (consolidating actions arising out of a data security breach on behalf of state and/or

nationwide classes that asserted either a combination of state and/or federal claims); In re

Plumbing Fixtures, 308 F. Supp. 242, 244 (J.P.M.L. 1970) (“[A] potential for conflicting or

overlapping class actions presents one of the strongest reasons for transferring such related

actions to a single district for coordinated or consolidated pretrial proceedings.”). Plaintiffs’

actions and the other Related Actions are all proposed class actions. Further, all the asserted

putative classes are state-specific, with some of the Related Actions seeking to represent the

same putative classes. As a result, without transfer and centralization there is a high likelihood of




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numerous potentially overlapping classes, raising the risk of inconsistent rulings and

inefficiency.

        Moreover, each of the pending actions are still in early procedural phases, as none have

moved past the motion to dismiss stage. In re: Bank of Am. Wage & Hour Emp. Pracs. Litig.,

706 F. Supp. 2d 1369, 1371 (J.P.M.L. 2010) (explaining that cases pending at the same

procedural posture “would likely benefit from centralized proceedings”). Now is the perfect time

for transfer, as the transferee court will not be forced to duplicate efforts undertaken by other

courts or reconcile prior court rulings. Thus, because the actions are still in the early stages of

litigation, bring forth common questions and issues, and because transfer would convenience the

parties and further the just and efficient conduct of all actions, the requirements of § 1407(a)

have been satisfied.

        C.      There Are a Sufficient Number of Actions to Support Transfer and
                Consolidation.

        As stated above, there are currently six Related Actions pending in five different federal

districts, and Plaintiffs believe more are to follow. The Panel has routinely ordered centralization

of three or fewer cases. See, e.g., In re Wireless Tel. Replacement Prot. Programs Litig., 180 F.

Supp. 2d 1381, 1383 (J.P.M.L. 2002) (granting transfer and centralization of three consumer

protection cases and determining that pending motions can be presented to and decided by the

transferee judge); In re Philadelphia Life Ins. Co. Sales Pracs. Litig., 149 F. Supp. 2d 937, 938

(J.P.M.L. 2001) (granting transfer of two deceptive insurance sales cases and finding that such

transfer would promote the just and efficient conduct of the litigation); In re Amoxicillin Pat. &

Antitrust Litig., 449 F. Supp. 601, 603 (J.P.M.L. 1978) (granting transfer of three cases involving

patent and antitrust issues); In re Alodex Corp. Sec. Litig., 380 F. Supp. 790, 791 (J.P.M.L. 1974)

(granting transfer of three securities actions).

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        Given the number of current Related Actions and likely tag-along actions related to

Defendants’ systematic, widespread activities, transfer and consolidation is appropriate.

II.     THE EASTERN DISTRICT OF PENNSYLVANIA IS THE MOST
        APPROPRIATE TRANSFEREE VENUE.

        The actions should be transferred to the Eastern District of Pennsylvania because the

district has a relatively light docket, and the district is a readily accessible venue for the parties.

The Panel previously has chosen transferee districts that have favorable docket conditions. In re

Stryker Rejuvenate, ABG II Hip Implant Prods. Liab. Litig., 949 F. Supp. 2d at 1380; In re:

DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab. Litig., 787 F. Supp. 2d 1358, 1360

(J.P.M.L. 2011) (transferring to a district with “favorable docket conditions”); In re Lending

Tree, LLC, Customer Data Security Breach Litig., 581 F. Supp. 2d 1367, 1368 (J.P.M.L. 2008)

(transferring to a district that “has the capacity to handle this docket and, in the past, has been

underutilized as a transferee district.”).

        Currently, the Eastern District of Pennsylvania has more favorable docket conditions

when compared to the national average. The Eastern District has 22 judgeships with 295 actions

per judgeship, compared to the national average of 570 actions per judgeship. 1 Further, The

Eastern District averages 6.7 months from the time of filing to disposition, as opposed to the

national average of 10.4 months. 2 As such, transferring the Related Actions to the Eastern

District is unlikely to impose a great burden on the judges of the Eastern District.

        Moreover, the Eastern District of Pennsylvania is readily accessible for multidistrict

litigation and would be a convenient forum for many parties. For parties who are not within




1
  See United States District Courts –Nat’l Judicial Caseload Profile (June 2022),
https://www.uscourts.gov/sites/default/files/fcms_na_distprofile0630.2022_0.pdf.
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  Id.
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driving distance, the Philadelphia International Airport is “a large hub airport serving 25.24

million passengers” in 2022. 3 “Twenty-seven airlines, including all major domestic carriers,

offer nearly 323 daily departures,” 4 including multiple daily flights to major hub cities and

others, including Chicago, New York, Pittsburgh, Los Angeles, San Diego, Minneapolis, and

Boston 5— all cities where counsel for the parties are located. In addition, located in

Philadelphia, a major metropolitan area, the Eastern District of Pennsylvania has numerous hotel

accommodations located in close proximity to the courthouse.

         Finally, Judge Hodge, who is currently presiding over the Vonbergen action, is a jurist

capable of handling complex multi-district litigation. After over twenty years as a litigator in

criminal and civil actions, Judge Hodge was confirmed to the federal bench in 2022. 6 At the time

of her nomination, the American Bar Association rated Judge Hodge as “well qualified.” 7 To the

best of the Plaintiffs’ knowledge, Judge Hodge has not previously served as an MDL transferee

judge and the Panel has repeatedly expressed a willingness to consolidate cases before a judge

who has yet to have the opportunity serve as a transferee judge. In re Ermi LLC ('289) Pat. Litig.,

396 F. Supp. 3d 1358, 1360 (J.P.M.L. 2019); In re Fisher-Price Rock 'N Play Sleeper Mktg.,

Sales Pracs., & Prod. Liab. Litig., 412 F. Supp. 3d 1357, 1360 (J.P.M.L. 2019); In re Stryker

Orthopaedics LFIT V40 Femoral Head Prod. Liab. Litig., 249 F. Supp. 3d 1353, 1356 (J.P.M.L.

2017).




3
  About Us, Philadelphia Int’l Airport, https://www.phl.org/about/about-us (last visited Mar. 8,
2023).
4
  Id.
5
  All scheduled direct (non-stop) flights from Philadelphia (PHL), FlightsFrom,
https://www.flightsfrom.com/PHL (last visited Mar. 8, 2023).
6
  See Kelly Hodge, Ballotpedia, https://ballotpedia.org/Kelley_Hodge (last visited Mar. 8, 2023).
7
  Id.
                                                 8
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III.    IN THE ALTERNATIVE, THE WESTERN DISTRICT OF PENNSYLVANIA IS
        AN APPROPRIATE TRANSFEREE DISTRICT.

        In the alternative to the Eastern District of Pennsylvania, the Western District of

 Pennsylvania is an appropriate transferee district. Currently two of the six Related Actions are

 pending in the Western District and a total of three are pending in Pennsylvania federal districts. 8

 As such, three of the six Related Actions raise claims under Pennsylvania law and are brought on

 behalf of classes of Pennsylvania residents. Further, Judge Stickman of the Western District is a

 capable jurist who has prior judicial experience with the issues involved in these cases and is

 familiar with the applicable laws as demonstrated by his experience presiding over Popa v.

 Harriet Carter Gifts, Inc. et al, Case No. 2:19-cv-00450 (W.D. Pa.), an action that raises similar

 claims against a website merchant for the wiretapping of website visitors’ electronic

 communications. See In re Katz Interactive Call Processing Pat. Litig., 481 F. Supp. 2d 1353,

 1355 (J.P.M.L. 2007) (centralizing cases before a judge with prior experience with the issues

 involved in the pending cases). To Plaintiffs’ knowledge, Judge Stickman is not currently

 presiding over any MDLs. Thus, as an alternative to the Eastern District of Pennsylvania,

 Plaintiffs respectfully request that the Panel transfer the Related Actions and any tag-along




 8
  Defendants have already moved to consolidate the Calvert and Cornell actions and have further
 moved to transfer the Vonbergen action to the Western District of Pennsylvania, indicating that
 Defendants believe at least three of the six actions should be centralized there. See Cornell v.
 BPS Direct, L.L.C., Case No. 23-CV-00020-SPB (W.D. Pa.), at ECF No. 7; Vonbergen v. BPS
 Direct, LLC, 2:22-cv-4709 (E.D. Pa.), at ECF No. 7. These facts further support transfer and
 consolidation in the Western District of Pennsylvania. See In re Sierra Wireless, Inc., Sec. Litig.,
 387 F. Supp. 2d 1363, 1364 (J.P.M.L. 2005) (transferring cases to the forum in part because that
 was where the first-filed action and a majority of pending actions were located).




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actions to the Western District of Pennsylvania for centralization and coordination of pretrial

proceedings before Judge Stickman.

                                          CONCLUSION

       For the reasons above, the Eastern District of Pennsylvania presents the most logical

choice for the necessary transfer of the actions. Therefore, Plaintiffs respectfully request that the

Panel enter an order pursuant to 28 U.S.C. § 1407 transferring the Related Actions, as well as

any other actions that may subsequently be filed, to the Eastern District of Pennsylvania for

centralized coordination or consolidation as described above. In the alternative, Plaintiffs suggest

that Judge Stickman of the Western District of Pennsylvania would also be an appropriate

transferee judge for these actions.

Dated: March 8, 2023                              Respectfully Submitted,

                                                  /s/ Gary F. Lynch
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                                                  Cabela’s L.L.C., Case No. 2:22-cv-01460-WSH
                                                  (W.D. Pa.)

                                                  Counsel for Heather Cornell individually and
                                                  on behalf of all others similarly situated v. BPS
                                                  Direct, L.L.C., Case No. 1:23-cv-00020-SPB
                                                  (W.D. Pa.)




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